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 October 18, 2023

 VIA ECF
 Hon. Michael A. Hammer, U.S.M.J.
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street, Courtroom
 Newark, New Jersey 07102

 Re:    Industria de Alimentos Zenú S.A.S. v. Latinfood U.S. Corp. d/b/a Zenú Products Co.
        and Wilson Zuluaga, et al.; Civil Action No. 2:16-cv-06576 (KM) (MAH)

 Dear Judge Hammer:

 I am counsel for Defendants Latinfood U.S. Corp. d/b/a Zenú Products Co. and Wilson Zuluaga.

 There is currently scheduled a October 23, 2023 telephone status conference call with the Court
 (Dkt. 318). I will be traveling that day and therefore request that the Court adjourn the call to a
 subsequent date. I have alerted Plaintiff’s counsel Peter Raymond via email and he advised that he
 has no objection to my request to adjourn the conference.
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 Respectfully submitted,

 THE INGBER LAW FIRM

 __/Mark J. Ingber/
 By: Mark J. Ingber, Esq.

 cc: Peter Raymond, Esq. and all counsel for Plaintiff (via ECF)
